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                                                                                          FILED
                                                                                        U.S. DISTRICT COURT
                         IN THE UNITED STATES DISTRICT COURT                        EASTERN DISTRICT ARKANSAS
                            EASTERN DISTRICT OF ARKANSAS
                                                                                       NOV -7 2012
                                                                             ~A~ES~.~~~
UNITED STATES OF AMERICA                                                      y.     ~WcW<

v.                                              No. 4:10CR00186-2 SWW

ROGER SANCHEZ

                           PRELIMINARY ORDER OF FORFEITURE
                                   Fed.R.Crim.P. 32.2(b)


       IT IS HEREBY ORDERED THAT:

       1. As the result of the guilty plea to Count One of the Indictment, and a stipulation of the

defendant in which he agrees to the forfeiture the Government seeks pursuant to 21 U.S.C. § 853,

defendant shall forfeit to the United States:

       a. All property used or intended to be used in any manner or part to commit the offenses

charged in Count One of the Indictment.

       2. The Court has determined, based on the evidence already in the record that the following

property is subject to forfeiture pursuant to 21 U.S.C. § 853, and that the government has established

the requisite nexus between such property and such offenses:

        $4,500.00 U.S. Currency

        3. Upon the entry of this Order, the United States Attorney General (or a designee) is

authorized to seize the above listed property and to conduct any discovery proper in identifying,

locating, or disposing of the property subject to forfeiture, in accordance with Fed. R. Crim. P.

32.2(b)(3).
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       4. Upon entry of this Order, the United States Attorney General (or a designee) is authorized

to commence any applicable proceeding to comply with statutes governing third party rights,

including giving notice of this Order.

        5. The United States shall publish notice of the order and its intent to dispose of the property

in such a manner as the United States Attorney General (or a designee) may direct. The United

States may also, to the extent practicable, provide written notice to any person known to have an

alleged interest in the Subject Property.

        6. Any person, other than the above named defendant, asserting a legal interest in the Subject

Property may, within thirty days of the final publication of notice or receipt of notice, whichever is

earlier, petition the Court for a hearing without a jury to adjudicate the validity ofhis alleged interest

in the Subject Property, and for an amendment of the order of forfeiture, pursuant to 21 U.S.C. §

853(n)(2).

        7. Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A), this Preliminary Order of Forfeiture shall

become final as to the defendant at the time of sentencing and shall be made part of the sentence and

included in the judgment. If no third party files a timely claim, this Order shall become the Final

Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

        8. Any petition filed by a third party asserting an interest in the Subject Property shall be

signed by the petitioner under penalty of perjury and shall set forth the nature and extent of the

petitioner's right, title, or interest in the Subject Property, the time and circumstances of the

petitioner's acquisition of the right, title, or interest in the Subject Property, any additional facts

supporting the petitioner's claim and the relief sought.




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                 9. After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(l)(A) and before

          a hearing on the petition, discovery may be conducted in accordance with the Federal Rules of Civil

          Procedure upon a showing that such discovery is necessary or desirable to resolve factual issues.

                  10. The United States shall have clear title to the Subject Property following the Court's

          disposition of all third-party interests, or, if none, following the expiration of the period provided in

          21 U.S.C. § 853(n)(2) for the filing of third party petitions.

                  11. The Court shall retain jurisdiction to enforce this Order, and to amend it as necessary,

          pursuant to Fed. R. Crim. P. 32.2(e).



                  SO ORDERED this        '/f-h day of NovQrlbe-rr, 2012.


                                                                  HONORABLE SUSAN W BB     WRIGHT
                                                                  UNITED STATES DISTRICT JUDGE




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'i_.,   ' .,   I
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                   I, Roger Sanchez, after consulting with my attorney, voluntarily agree to withdraw my claim

                   regarding $9,000.00 United States Currency and to allow the Drug Enforcement Administration to

                   administratively forfeit $4,500.00 U.S. Currency. I agree not to contest the administrative

                   forfeiture nor to assist or encourage a third party to contest the forfeiture of this asset.




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                                                                                       / t:J / I           L
                                                                                                   -z t- ~ L
                                                                                                    Date
                   Claimant




                                                                                                    Date




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